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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI

 AXIS SURPLUS INSURANCE COMPANY, )
                                 )
      Plaintiff,                 )                    Case No. 4:22-cv-00328
                                 )
 v.                              )
                                 )
 TRISTAR COMPANIES, LLC,         )
                                 )
      Defendant.                 )

                          PROPOSED JOINT SCHEDULING PLAN

       Plaintiff, AXIS Surplus Insurance Company (“AXIS”) and Defendant, TriStar Companies

(“TriStar”) (collectively the “Parties”) submit the following Joint Proposed Scheduling Plan:

                               INTRODUCTORY STATEMENT

       In accordance with Fed. R. Civ. P. 26(f)(1), the Parties met and conferred on June 3, 2022

with respect to this joint scheduling plan. AXIS filed this declaratory judgment action to determine

whether its liability insurance policy obligates it to defend TriStar with respect to an underlying

wrongful death lawsuit -- AXIS contends it does not, which TriStar contests. Because the

interpretation of an insurance policy is a matter of law for the Court to decide, the parties believe

resolution of this matter by summary judgment is likely, and that limited discovery will be

necessary.

1.   TRACK ASSIGNMENT

     The Parties agree that Track 1: Expedited is appropriate for this case.

2.   JOINDER AND AMENDMENT

     The Parties will move to amend their pleadings or add new parties by June 23, 2022.

3.   REFERRAL TO ALTERNATIVE DISPUTE RESOLUTION

     The Parties do not believe referral to mediation would be beneficial at this time.



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4.   DISCOVERY PLAN

     The Parties propose the following discovery schedule:

     a.        June 30, 2022: initial disclosures under Fed. R. Civ. P. 26(a)(1).

     b.        Discovery need not be conducted in phases or limited to certain issues.

     c.        The Parties will be limited to ten (10) depositions each (Fed. R. Civ. P. 30(a)(2)(A))
               and twenty-five (25) interrogatories each (Fed. R. Civ. P. 33(a)).

     d.        No mental or physical examinations of any individual are necessary.

     e.        The Parties do not presently anticipate the need for expert testimony.

     f.        September 30, 2022: completion of fact discovery. All interrogatories, requests for
               production, requests for admissions, and deposition notices/subpoenas shall be
               served within sufficient time to allow completion prior to the close of fact
               discovery.

     g.        The Parties will negotiate in good faith any issues with the form or manner of
               production of electronic discovery.

5.   DISPOSITIVE MOTIONS

     Dispositive motions will be filed no later than October 31, 2022. Oppositions and replies in

support will be due in accordance with Local Rule 7-4.01. Nothing in this Order shall prevent a

party from filing a dispositive motion prior to the close of fact discovery.

6.   TRIAL DATE AND LENGTH

     The case shall be ready for trial by January 23, 2023. The parties anticipate that, following

the Court’s rulings on dispositive motions, any remaining unresolved issues could be tried in no

more than two days.

                                              Respectfully submitted,

                                              SKARZYNSKI MARICK & BLACK LLP
                                              By: /s/ Michael M. Marick

                                              Michael M. Marick
                                              Andrew J. Candela


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